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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 In re Subpoena to Non-Party Lindsey
 O. Graham in his official capacity as
 United States Senator,                     Case No. 1:22-cv-03027-LMM

 In the matter of:

 Special Purpose Grand Jury, Fulton
 County Superior Court Case No.
 2022-EX-000024.


                              NOTICE OF APPEAL

      NOTICE IS HEREBY GIVEN that United States Senator Lindsey Graham,

Defendant-Appellant, hereby appeals to the United States Court of Appeals for the

Eleventh Circuit from the district court’s Order denying Senator Graham’s expedited

motion to quash and ordering remand to the Superior Court of Fulton County entered

on August 15, 2022 (Doc. 27) (attached hereto as Exhibit 1). See Fed. R. App. P.

4(a)(1).
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Date: August 17, 2022             Respectfully submitted,

                                  /s/ Brian C. Lea
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                                   Application for admission
                                   pro hac vice pending
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             Counsel for United States Senator Lindsey Graham




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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 17, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to all attorneys of record by operation of the Court’s electronic filing

system.

 Date: August 17, 2022                 /s/ Brian C. Lea
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